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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,

                     Plaintiff

              v.                                    No: 19-cv-01930

$53,082,824.19 IN U.S. CURRENCY,

              Defendant




            BANCO SAN JUAN INTERNACIONAL’S VERIFIED CLAIM


Sonia Torres, Esq.                             Jonathan W. Haray, Pro hac vice pending
USDC-PR Bar No. 209310                         Courtney Saleski, Pro hac vice pending
Meléndez Torres Law PSC                        DLA Piper LLP (US)
MCS Plaza, Suite 1200                          500 8th Street, NW
255 Ponce de León Avenue                       Washington, DC 20004
San Juan, PR 00917                             Telephone: (202) 799-4000
Telephone: (787) 281-8100                      Fax: (202) 799-5000
Fax: (787) 281-8310                            jonathan.haray@dlapiper.com
storres@melendeztorreslaw.com                  courtney.saleski@dlapiper.com


Abbe David Lowell, Pro hac vice pending        Guillermo Ramos Luiña (USDC-204007)
Eric W. Bloom, Pro hac vice pending            PO Box 2763, UPR Station
Christopher D. Man, Pro hac vice pending       San Juan, PR 00931-2763
Winston & Strawn LLP                           (787) 620-0527 (Phone)
1700 K Street, NW                              (787) 620-0039 (Fax)
Washington, DC 20006                           gramlui@yahoo.com
(202) 282-5000 (Phone)
(202) 282-5100 (Fax)
adlowell@winston.com


                      Counsel for Banco San Juan Internacional, Inc.
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TO THE HONORABLE COURT:

       COMES NOW, Banco San Juan Internacional, Inc. (BSJI), a corporation registered in the

Commonwealth of Puerto Rico, through verified declaration and the undersigned attorneys

respectfully states as follows:

       1.      On September 27, 2019, Plaintiff United States of America brought this civil action

for forfeiture in rem against $53,082,824.19, being held in the name of BSJI in three accounts at

two U.S. financial institutions: in particular, $10,000,000 in funds in account xxx-x7689 in the

name of BSJI at Merrill Lynch in Puerto Rico; $5,000,000 in funds in account xxx-x7059 in the

name of BSJI at Merrill Lynch in New York; and $38,082,824.19 in funds in account xxxx-x228-6

in the name of BSJI at the Federal Reserve Bank of New York (FRBNY) (collectively “the seized

funds”).

       2.      BSJI hereby claims the seized funds described above as the property of BSJI,

pursuant to Supplemental Federal Rules of Civil Procedure C(6) and G(5)(a). The accounts at

issue with Merrill Lynch and FRBNY are in the name of and are the property of BSJI, as Plaintiff

concedes in the Verified Complaint itself. (Compl. at 1-2 (“accounts under the name of Banco

San Juan International [sic],” and “$53,082,824.19 associated with Banco San Juan International

[sic]”); Complaint at 3 (“Funds … contained in the following accounts under the name of Banco

San Juan International [sic]”).)

       3.      In particular, BSJI claims ownership of the following property, seized on Plaintiff’s

behalf by agents from Immigration and Customs Enforcement, Homeland Security Investigations

and the Federal Bureau of Investigation (id. at 3):

               a)      $10,000,000 from account xxx-x7689 at Merrill Lynch, #15 Second
                       Street, Suite 210, Guaynabo, PR 000968;



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               b)     $5,000,000 from account xxx-x7059 at Merrill Lynch, 225 Liberty
                      Street, 41st Floor, New York, NY 10281, and
               c)     $38,082,824.19 from account xxxx-x228-6 at the Federal Reserve
                      Bank of New York, 33 Liberty Street, New York, NY 10045.

       4.      Both FRBNY and Merrill Lynch have recognized BSJI’s ownership of the seized

funds and have notified BSJI of the initial seizures of the funds. In particular, FRBNY notified

BSJI on or about February 15, 2019 that $38,082,824.19 had been seized from BSJI’s account

ending in xxxx-x228-6. BSJI’s account statement from FRBNY subsequently included a debit in

that amount on February 14, 2019. In addition, an account statement issued by Merrill Lynch in

Puerto Rico for BSJI’s account ending in xxx-x7689 included a February 26, 2019 debit in the

amount of $10 million with the description, “CK G 52324-16667 Customs and Border.” On the

same date, according to an account statement issued by Merrill Lynch in New York, $5 million

was debited from BSJI’s account ending xxx-x7059, and included the same transaction

description.

       8.      The seized funds from BSJI’s Merrill Lynch and FRBNY accounts are the result of

legitimate, ordinary business activities by BSJI and are not forfeitable as property involved in,

traceable to, or which “constitutes or is derived from proceeds” of unlawful activity, as set forth

in 18 U.S.C. §981(a)(1)(A) and (C), or any other provision of law.

       9.      Further, BSJI is not aware of any reason to believe the seized funds contain the

proceeds of any unlawful conduct that could give rise to a legitimate claim of forfeiture.

                                 VERIFIED DECLARATION

       I, Hector J. Vasquez, resident of the Commonwealth of Puerto Rico, hereby declare the

following, under penalty of perjury as provided in 28 U.S.C. §1746:

       I am Chief Financial Officer of Banco San Juan Internacional, Inc., a corporation registered

in the Commonwealth Puerto Rico. I am legally authorized to act on behalf of Banco San Juan

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Internacional, Inc. in all matters. The statements contained in the foregoing Verified Claim are

true and correct to the best of my knowledge and belief.

       Executed in San Juan, Puerto Rico, this 9th day of October, 2019.


                                                            _____________________________
                                                            Hector J. Vasquez
                                                            Chief Financial Officer
                                                            Banco San Juan Internacional, Inc.




Dated: October 9, 2019

 Sonia Torres, Esq.                                 Jonathan W. Haray, Pro hac vice pending
 USDC-PR Bar No. 209310                             Courtney Saleski, Pro hac vice pending
 Meléndez Torres Law PSC                            DLA Piper LLP (US)
 MCS Plaza, Suite 1200                              500 8th Street, NW
 255 Ponce de León Avenue                           Washington, DC 20004
 San Juan, PR 00917                                 Telephone: (202) 799-4000
 Telephone: (787) 281-8100                          Fax: (202) 799-5000
 Fax: (787) 281-8310                                jonathan.haray@dlapiper.com
 storres@melendeztorreslaw.com                      courtney.saleski@dlapiper.com


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 Washington, DC 20006                               (787) 620-0039 (Fax)
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                         Counsel for Banco San Juan Internacional, Inc.




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                                CERTIFICATE OF SERVICE

       I certify that the foregoing was filed on October 9, 2019 with the Clerk of Court using the

CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

                              /s/ Guillermo-Ramos Luiña
                              Guillermo Ramos Luiña




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